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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                           Chapter 11

QUIKSILVER, INC., et al.,                        Case No. 15-11880 (BLS)

                                                 (Jointly Administered)
                       Debtors.


                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

            Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the

  admission pro hac vice of Andrew P. DeNatale of Stroock & Stroock & Lavan LLP to represent

  Industrial Property Fund VII, LLC and West County Commerce Realty Holding Co. LLC in this

  action.

  Dated: September 30, 2015                   CHIPMAN BROWN CICERO & COLE, LLP
         Wilmington, Delaware
                                                     /s/ William E. Chipman, Jr.
                                              William E. Chipman, Jr. (No. 3818)
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                                  ORDER GRANTING MOTION

         IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.
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